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Attorneys for Defendants

UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY
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                                                      :
LEGAL BAY LLC,                                        :
                                                      :
                             Plaintiff,               : Case No. 2:22-cv-03941-ES-JBC
                                                      :
                 - against -                          : Removed from the Superior Court
                                                      : of the State of New Jersey, Essex
MUSTANG FUNDING, LLC, MUSTANG : County – Chancery Division,
SPECIALTY FUNDING I, LLC,                             : Docket No. (ESX-C-000086-22)
MUSTANG SPECIALTY FUNDING II, :
LLC, JAMES BELTZ, and KEVIN                           :
CAVANAUGH,                                            :
                                                      :
                               Defendants.            :
----------------------------------------------------- x
                 DECLARATION OF CHRISTIAN T. BECKER

I, CHRISTIAN T. BECKER, hereby declare under penalty of perjury as follows:

       1.     I am a partner at Kasowitz Benson Torres LLP, counsel in this action

to Defendants Mustang Funding, LLC, Mustang Specialty Funding I, LLC,

Mustang Specialty Funding II, LLC (collectively, “Mustang”), James Beltz, and

Kevin Cavanaugh (Beltz and Cavanaugh, together, the “Founders”). I am admitted

to the practice of law in the United States District Court for the District of New
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Jersey. I submit this Declaration in support of Defendants’ Memorandum of Law

in support of their Motion to Dismiss the Complaint filed by Plaintiff Legal Bay

LLC (“LB”).

      2.    Attached hereto as Exhibit 1 is a true and correct copy of the May 18,

2022, email from Chris Janish to James Beltz providing 60-days’ notice of LB’s

purported termination of the Line of Credit Agreement.

      3.    Attached hereto as Exhibit 2 is a true and correct copy of the January

30, 2022, email from Chris Janish to the Founders regarding Mustang’s refusal to

enter into any joint venture agreement with LB.

      4.    Attached hereto as Exhibit 3 is a true and correct copy of the

“Business Entity Search” page on the website for the New Jersey Department of

the Treasury, Division of Revenue and Enterprise Services, accessed on July 4,

2022, showing that there is no entity by the name of Baker Street Funding, LLC,

registered with the State of New Jersey.

      5.    Attached hereto as Exhibit 4 is a true and correct copy of the

“Business Entity Search” page on the website for the New Jersey Department of

the Treasury, Division of Revenue and Enterprise Services, accessed on July 4,

2022, showing that there is no entity by the name of Tribeca Capital Group, LLC,

registered with the State of New Jersey.




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      6.       Attached hereto as Exhibit 5 is a true and correct copy of the “Entity

Search” page on the website for the Delaware Department of State, Division of

Corporations, accessed on July 4, 2022, showing that Baker Street Funding, LLC,

is registered as a Delaware limited liability company.

      7.       Attached hereto as Exhibit 6 is a true and correct copy of the “Entity

Search” page on the website for the Delaware Department of State, Division of

Corporations, accessed on July 4, 2022, showing that Tribeca Capital Group, LLC,

is registered as a Delaware limited liability company.

      8.       Attached hereto as Exhibit 7 is a true and correct copy of the “About

Us” page on the website for Baker Street Funding, LLC, accessed on July 11,

2022, showing addresses for Baker Street Funding, LLC, only in New York and

Florida.

      9.       Attached hereto as Exhibit 8 is a true and correct copy of the “About

Us” page on the website for Tribeca Capital Group, LLC, accessed on July 11,

2022, stating that Tribeca Capital Group, LLC, is “[h]eadquartered in Los Angeles,

California.”


Dated: New York, New York
      July 22, 2022

                                                      /s/ Christian T. Becker
                                                        Christian T. Becker


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